
		
OSCN Found Document:RE REINSTATEMENT OF CREDENTIAL OF REGISTERED COURTROOM INTERPRETER

					

				
  



				
					
					
						
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				RE REINSTATEMENT OF CREDENTIAL OF REGISTERED COURTROOM INTERPRETER2024 OK 20Decided: 04/01/2024THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2024 OK 20, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 


RE: Reinstatement of Credential of Registered Courtroom Interpreter
ORDER
The Oklahoma Board of Examiners of Certified Courtroom Interpreters recommended to the Supreme Court of Oklahoma that the credential of the following interpreter:
Byron Lema
be reinstated, as all applicable fees have been paid and the interpreter has complied with the continuing education requirements for 2023 and annual certificate renewal requirements for 2024.
IT IS HEREBY ORDERED pursuant to 20 O.S., Chapter 23, App. II, Rules 18 and 20, that the credential of the named interpreter be reinstated from the suspension earlier imposed by this Court, effective April 1, 2024.
DONE BY ORDER OF THE SUPREME COURT this 1st day of APRIL, 2024.
/S/CHIEF JUSTICE
ALL JUSTICES CONCUR.




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